 

THE DEFENDANT:

 

 

AO 2458 (NCMD Rev. ON DO 1 J nt in a Criminal Case
“ENTERED ON pocket": vor

Anited States District Court |
Middle District of North Carolina

 

 

 

= AMERICA JUDGMENT IN A CRIMINAL CASE
Case Number: 1:14-CR-00064-1
LISA TURNER WRIGHT
USM Number: 30046-057
David B. Smith
Defendant's Attorney

pleaded guilty to count(s) 1-2.
pleaded nolo contendere to count(s) which was accepted by the court.

(_] was found guilty on count(s) after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

  

Title & Section Nature of Offense Offense Ended
18:371 Conspiracy to Embezzle Federal Funds November 10, 2010 1
18:666(a)(2) and 2 Embezzlement from a Program November 10, 2010 2

Receiving Federal Funds

The defendant is sentenced as provided in pages 2 through 13 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[_] The defendant has been found not guilty on count(s)
LC Couni(s) dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant's economic
circumstances.

June 30, 2014

Date Le of _Z

Signhatufe of Judge

Catherine C. Eagles, United sites bce District Judge

 

Name & zfirf of hy iy

 

Date

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AO 245B (NCMD Rev. 09/11) Sheet 2 - Imprisonment Page 2 of 6

DEFENDANT: LISA TURNER WRIGHT
CASE NUMBER: 1:14-CR-00064-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
12 months and one (1) day.

[12 months and one (1) day under Count 1 and 12 months and one (1) day under Count 2 to run concurrent]

The court makes the following recommendations to the Bureau of Prisons: defendant be housed in a Bureau of Prisons facility as close as
possible to her place of residence in North Carolina, and defendant be housed separately from defendant Tiffanie Annette Wilson 1: 13CR385-1.

[_] The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district.
XX! at 12:00 noon on 10/15/14

L] as notified by the United States Marshal.

L] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 pm on
(J as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

RETURN

| have executed this judgment as follows:

Defendant delivered on to at

, with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

BY

 

DEPUTY UNITED STATES MARSHAL

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AO 245B (NCMD Rev. 09/11) Sheet 3 - Supervised Release Page 3 of 6

 

DEFENDANT: LISA TURNER WRIGHT
CASE NUMBER: 1:14-CR-00064-1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years.

[Three (3) years under Count 1 and Count 2, all counts to run concurrently with each other]

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.

The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

| The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

x] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

Xx] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

LC) The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works,
is a student, or was convicted of a qualifying offense. (Check, if applicable.)

L The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
felony unless granted permission to do so by the probation officer:

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal

record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.

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AQ 245B (NCMD Rev. 09/11) Sheet 3c - Imprisonment, Special Conditions Page 4 of 6

DEFENDANT: LISA TURNER WRIGHT
CASE NUMBER: 1:14-CR-00064-14

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall provide any requested financial information to the probation officer.

The defendant shall cooperatively participate in a mental health treatment program, which may include inpatient treatment, and pay for treatment
services, as directed by the probation officer.

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AO 245B (NCMD Rev. 09/11) Sheet 5 - Criminal Monetary Penalties Page 5 of 6

DEFENDANT: LISA TURNER WRIGHT

CASE NUMBER: 1:14-CR-00064-1

TOTALS $200.00

C

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

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Assessment in Restitution

.00 $324,651.50

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ff

The determination of restitution is deferred until
will be entered after such determination.

. An Amended Judgment in a Criminal Case (AO 245C)

The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Restitution of $324,651.50 to:

Regional Consolidated Services
$33,235.00

U.S. Department of Energy
$145,708.25

United States Health and Human Services
$145,708.25

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
XJ the interest requirement is waived for the O fine restitution.

Othe interest requirement for the C] fine O_srestitution is modified as follows:

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AO 245B (NCMD Rev. 09/11) Sheet 6 - Schedule of Payments Page 6 of 6

DEFENDANT: LISA TURNER WRIGHT
CASE NUMBER: 1:14-CR-00064-1

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $ 200.00 due immediately, balance due
(_] not later than , Or

in accordance with L] c, D, C1 E, or Xl F below; or
B L] Payment to begin immediately (may be combined with C) c,U D,or UO F below); or

cH Payment in equal (e.g. weekly, monthly, quarterly) installments of $__ __. over a period of (e.g., months or years),
to commence (e.g., 30 or 60 days) after the date of this judgment; or

D Payment in equai monthly installments of $200.00, to commence 60 days after release from imprisonment to a term of supervision; or

E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

To the extent the defendant cannot immediately comply, the Court will recommend she participate in the Inmate Financial Responsibility
Program.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are to be made to the Clerk of Court, United States District Court for the Middle District of North Carolina, 324 West
Market Street, Greensboro, NC 27401-2544, unless otherwise directed by the court, the probation officer, or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

Tiffanie Annette Wilson 1:13CR385-1 $324,651.50

L] The defendant shall pay the cost of prosecution.
L] The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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